       Case 1:19-cv-00720-TNM Document 69 Filed 01/17/20 Page 1 of 26



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


                                            )
RIO GRANDE INTERNATIONAL STUDY              )
CENTER, et al.,
                                            )
                                            )
                                            )
              Plaintiffs,                   )
                                            )
              v.                            )   CIVIL ACTION NO. 19-CV-720 (TNM)
                                            )
                                            )
DONALD J. TRUMP, in his official capacity   )
as President of the UNITED STATES OF        )
AMERICA, et al.,                            )
                                            )
                                            )
               Defendants.                  )
                                            )



         PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ SUPPLEMENTAL
             MEMORANDUM ADDRESSING ZONE OF INTERESTS
            Case 1:19-cv-00720-TNM Document 69 Filed 01/17/20 Page 2 of 26



                                               TABLE OF AUTHORITIES

CASES                                                                                                                        PAGE(S)

Armstrong v. Exceptional Child Center, Inc.,
  575 U.S. 320 (2015) ................................................................................................................ 3, 6

Ass’n of Data Processing Serv. Orgs., Inc. v. Camp,
  397 U.S. 150 (1970) .............................................................................................................. 2, 10

Bank of Am. Corp. v. City of Miami,
  137 S. Ct. 1296 (2017) ................................................................................................................ 8

Bennett v. Spear,
  520 U.S. 154 (1997) .................................................................................................................... 3

Bond v. United States,
  564 U.S. 211 (2011) .................................................................................................................. 10

Boston Stock Exch. v. State Tax Comm’n,
  429 U.S. 318 (1977) .............................................................................................................. 9, 10

California v. Trump,
  407 F. Supp. 3d 869 (N.D. Cal. 2019) ...................................................................................... 17

Chamber of Commerce v. Reich,
  74 F.3d 1322 (D.C. Cir. 1996) .................................................................................................... 9

Cincinnati Soap Co. v. United States,
  301 U.S. 308 (1937) .................................................................................................................. 11

Clarke v. Sec. Indus. Ass’n,
  479 U.S. 388 (1987) ............................................................................................................ 12, 13

Clinton v. City of New York,
  524 U.S. 417 (1998) .................................................................................................................. 11

Cook v. Billington,
  737 F.3d 767 (D.C. Cir. 2013) ............................................................................................ 12, 16

Dames & Moore v. Regan,
  453 U.S. 654 (1981) ................................................................................................................ 5, 9

Dart v. United States,
  848 F.2d 217 (D.C. Cir. 1988) .................................................................................................... 7



                                                                     i
              Case 1:19-cv-00720-TNM Document 69 Filed 01/17/20 Page 3 of 26



  El Paso Cty. v. Trump,
    408 F. Supp. 3d 840, (W.D. Tex. 2019).................................................................................. 4, 8

  First Nat. Bank & Tr. Co. v. Nat’l Credit Union Admin.,
    988 F.2d 1272 (D.C. Cir. 1993) .................................................................................... 13, 14, 15

  Grupo Mexicano de Desarrollo S.A. v. Alliance Bond Fund, Inc.,
    527 U.S. 308 (1999) .................................................................................................................... 6

* Haitian Refugee Center. v. Gracey,
    809 F.2d 794 (D.C. Cir. 1987) ........................................................................................ 3, 4, 5, 7

  House of Representatives v. Mnuchin,
    379 F. Supp. 3d 8 (D.D.C. 2019)…………………………………………………………15, 16

  Indian River Cty., Fla. v. U.S. Dep’t of Transp.,
    2019 WL 6972874 (D.C. Cir. 2019) ......................................................................................... 13

  INS v. Chadha,
    462 U.S. 919 (1983) .................................................................................................................. 10

* Lexmark Int’l, Inc. v. Static Control Components, Inc.,
    572 U.S. 118 (2014) .............................................................................................. 1, 2, 3, 8, 9, 12

  Mach Mining, LLC v. EEOC,
   575 U.S. 480 (2015) .................................................................................................................. 19

* Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians v. Patchak,
   567 U.S. 209 (2012) ........................................................................................ 2, 3, 12, 16, 17, 18

  Michigan v. EPA,
    135 S. Ct. 2699 (2015) .............................................................................................................. 12

  Nat’l Credit Union Admin. v. First Nat. Bank & Tr. Co.,
    522 U.S. 479 (1998) ............................................................................................................ 16, 17

  Noel Canning v. NLRB,
    705 F.3d 490 (D.C. Cir. 2013) .................................................................................................. 11

  Patchak v. Salazar,
    632 F.3d 702 (D.C. Cir. 2011) .................................................................................................. 17

  Physicians for Soc. Responsibility v. Wheeler,
    359 F. Supp. 3d 27 (D.D.C. 2019) ............................................................................................ 12




                                                                       ii
               Case 1:19-cv-00720-TNM Document 69 Filed 01/17/20 Page 4 of 26



  Scheduled Airlines Traffic Offices, Inc. v. Dep’t of Def.,
    87 F.3d 1356 (D.C. Cir. 1996) ............................................................................................ 14, 15

  Sierra Club v. Trump,
     379 F. Supp. 3d 883 (N.D. Cal. 2019) ................................................................................ 3, 4, 8

* Sierra Club v. Trump,
     929 F.3d 670 (9th Cir. 2019) ........................................................................ 5, 6, 8, 9, 10, 11, 12

  Tenn. Wine & Spirits Retailers Ass’n v. Thomas,
    139 S. Ct. 2449 (2019) ................................................................................................................ 9

  Trump v. Sierra Club,
    140 S.Ct. 1 (2019) ...................................................................................................................... 8

  U.S. Dep’t of Navy v. Fed. Labor Relations Auth.,
    665 F.3d 1339 (D.C. Cir. 2012) ................................................................................................ 11

  White Stallion Energy Ctr., LLC v. EPA,
   748 F.3d 1222 (D.C. Cir. 2014) ................................................................................................ 12

  Youngstown Sheet & Tube Co. v. Sawyer,
    343 U.S. 579 (1952) .................................................................................................................... 5


  STATUTES

  10 U.S.C. § 2808 ........................................................................................................................... 19

  10 U.S.C. § 284 ............................................................................................................................. 19

  22 U.S.C. § 1732 ............................................................................................................................. 9

  31 U.S.C. § 9705 ........................................................................................................................... 19

  31 U.S.C. § 9705(a) ...................................................................................................................... 23

  5 U.S.C. § 559 ............................................................................................................................... 10

  31 U.S.C. § 9705(g)(4) ................................................................................................................. 23

  Consolidated Appropriations Act, 2019, Pub. L. No. 116-6, §§ 230-32, § 739,

     113 Stat. 13, 197 (2019)............................................................................................................ 17




                                                                         iii
         Case 1:19-cv-00720-TNM Document 69 Filed 01/17/20 Page 5 of 26



                                         INTRODUCTION

        This action arises out of President Trump’s multiple efforts to secure funding from

Congress to build a border wall along the United States’ southern border and, when those efforts

proved unsuccessful, his decision to bypass Congress by directing the Secretaries of Defense,

Treasury, and Homeland Security to use funds appropriated for other purposes to build the wall

anyway. Plaintiffs Rio Grande International Study Center (RGISC), Ramiro R. Ramirez, the

Carrizo/Comecrudo Nation of Texas, Elsa Hull, Joseph Hein, California Wildlife Coalition

(CalWild), the Labor Council for Latin American Advancement (LCLAA), and GreenLatinos

challenge the Defendants’ actions unlawfully diverting funds to construct a wall along the United

States-Mexico border. Many of the Plaintiffs are property owners whose lands and livelihoods

are threatened by unlawful border wall construction, while other Plaintiffs have cultural,

spiritual, environmental, recreational, and aesthetic interests in the borderlands that are protected

by the limitations set out in the 2019 Consolidated Appropriations Act (2019 CAA).

        Defendants’ interpretation of the zone of interests test is at odds with the “lenient

approach” mandated by the Supreme Court in Lexmark Int’l, Inc. v. Static Control Components,

Inc., 572 U.S. 118, 130 (2014), and the D.C. Circuit. Indeed, every court that has addressed

Defendants’ zone of interests argument in cases related to the actions at issue in this case has

found either that the test does not apply, or that parties with interests similar to Plaintiffs’ satisfy

the test. Likewise here, the zone of interest test does not apply to Plaintiffs’ ultra vires claims

and constitutional claims, and to the extent that the test may apply to Plaintiffs’ alternative 1


1
  Defendants appear to conflate Plaintiffs’ claims in this action with the claims raised by the
plaintiffs in Center for Biological Diversity, et al. v. Trump, 19-cv-00408. Compare Defs.’
Suppl. Mem. 2 (Dkt. 67) (“Plaintiffs in these related cases challenge the Government’s funding
and construction of barriers along the southern border of the United States pursuant to various
statutory authorities . . . . Plaintiffs assert these claims through a cause of action under
Administrative Procedure Act (APA) and, alternatively, an implied equitable cause of action
                                                   1
         Case 1:19-cv-00720-TNM Document 69 Filed 01/17/20 Page 6 of 26



claims brought under the Administrative Procedure Act (APA), Plaintiffs easily meet the

requirements.

                                            ARGUMENT

        The zone of interests test originated in Ass’n of Data Processing Service Organizations,

Inc. v. Camp, 397 U.S. 150 (1970), where the Supreme Court articulated a limit on causes of

action under the APA that was separate from the Article III standing inquiry. The Supreme

Court recently clarified that the zone of interests test applies to not only claims brought under the

APA, but to “all statutorily created causes of action.” Lexmark, 572 U.S. at 129. Unlike Article

III standing, the zone of interests test is not jurisdictional. Id. at 128 n.4. Courts apply the zone

of interests test to “determine, using traditional tools of statutory interpretation, whether a

legislatively conferred cause of action encompasses a particular plaintiff’s claim.” Id. at 127. A

plaintiff satisfies the zone of interests test if his asserted interest is “arguably within the zone of

interests to be protected or regulated by the statute that he says was violated.” Match-E-Be-

Nash-She-Wish Band of Pottawatomi Indians v. Patchak, 567 U.S. 209, 224 (2012) (internal

quotation omitted); see also Ass’n of Data Processing Serv. Orgs., 397 U.S. at 154 (interests

protected or regulated by a statute “may reflect aesthetic, conservational, and recreational as well

as economic values”) (internal quotation omitted). The Supreme Court has “always

conspicuously included the word ‘arguably’ in the test to indicate that the benefit of any doubt



alleging statutory and constitutional violations.”), with Pls.’ Opp. to Defs.’ Mot. to Dismiss (Dkt.
39) at 55 (“Plaintiffs allege that Defendants’ actions are unconstitutional because they are
moving to spend $8.1 billion on a border wall without a Congressional appropriation for that
purpose. Am. Compl. ¶¶ 142-154. In stating constitutional claims, Plaintiffs did not plead that
Defendants exceeded their statutory authority; rather, Plaintiffs assert that the statutes invoked by
Defendants provide no defense for their unconstitutional actions.”) and id. at 58 (Plaintiffs have
properly sought review of Defendants’ ultra vires actions. . . . While Plaintiffs bring APA claims
in the alternative, the enactment of the APA did not repeal judicial review of ultra vires government
actions.”).

                                                   2
         Case 1:19-cv-00720-TNM Document 69 Filed 01/17/20 Page 7 of 26



goes to the plaintiff.” Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians, 567 U.S. at

225.

I.     THE ZONE OF INTERESTS TEST DOES NOT APPLY TO PLAINTIFFS’
       ULTRA VIRES CLAIMS.

       As the Supreme Court recently explained in Lexmark, the zone of interests test “applies

to all statutorily created causes of action” and “Congress is presumed to ‘legislat[e] against the

background of’ the zone-of-interests limitation, ‘which applies unless it is expressly

negated.’” 572 U.S. at 129 (emphasis added) (quoting Bennett v. Spear, 520 U.S. 154, 163

(1997)). Plaintiffs’ ultra vires claims do not rely on “statutorily created causes of action.” 2

Rather, Plaintiffs seek equitable relief, “a judge-made remedy,” Armstrong v. Exceptional Child

Ctr., Inc., 575 U.S. 320, 327 (2015), for injuries suffered as a result of government actions that

are not authorized by any law, see id.

       In Sierra Club v. Trump, 379 F. Supp. 3d 883, 910 (N.D. Cal. 2019), a case also

challenging Defendants’ border wall funding scheme, the court held that “where a plaintiff seeks

equitable relief against a defendant for exceeding its statutory authority, the zone-of-interests test

is inapposite. Any other interpretation would lead to absurd results.” Citing Lexmark, 572 U.S.

at 129, and the D.C. Circuit’s decision in Haitian Refugee Center. v. Gracey, 809 F.2d 794, 811

n.14 (D.C. Cir. 1987), the Sierra Club court found that the zone of interests test “only relates to

statutorily-created causes of action,” and that “[t]he test has no application in an ultra

vires challenge, which operates outside of the APA framework.” 379 F. Supp. 3d at 910. The

court explained that “[t]he very nature of an ultra vires action posits that an executive officer has

gone beyond what the statute permits, and thus beyond what Congress contemplated. It would


2
 Plaintiffs bring alternative claims under the Administrative Procedure Act (APA) and easily
meet the zone of interests requirements for those claims. See infra at 11-15.

                                                  3
         Case 1:19-cv-00720-TNM Document 69 Filed 01/17/20 Page 8 of 26



not make sense to demand that Plaintiffs—who otherwise have standing—establish that

Congress contemplated that the statutes allegedly violated would protect Plaintiffs’ interests.”

Id. This reasoning applies equally here as Plaintiffs “otherwise have standing.” 3 See id.; see

also El Paso Cty. v. Trump, 408 F. Supp. 3d 840, 856 n.1 (W.D. Tex. 2019) (finding that

Defendants’ border wall funding plan violates the 2019 CAA and agreeing with the district court

in Sierra Club, 379 F. Supp. 3d at 910, that “when a plaintiff seeks equitable relief against a

defendant for exceeding its statutory authority, the zone-of-interests test is inapposite”). To

require Plaintiffs to further show that Congress intended to protect their interests when enacting

statutes that the Plaintiffs claim provide no authority for the Defendants’ challenged actions

would not make sense.

       Moreover, contrary to Defendants’ tortured reading of Haitian Refugee Center. v.

Gracey, 809 F.2d 794 (D.C. Cir. 1987), the D.C. Circuit has clearly stated that the zone of

interests test does not apply to ultra vires challenges. Compare Defs. Suppl. Mem. 6 (Dkt. 67)

(“the reasoning in Haitian Refugee Center suggests that the zone-of-interests requirement does

apply to claims challenging Executive action as ultra vires”) (emphasis in original) with Haitian

Refugee Ctr., 809 F.2d at 811 n.14 (“Appellants need not, however, show that their interests fall

within the zones of interests of the constitutional and statutory powers invoked by the President

in order to establish their standing to challenge the interdiction program as ultra vires.”). The

D.C. Circuit explained that “[o]therwise, a meritorious litigant, injured by ultra vires action,



3
  Defendants have conceded that at least RGISC and CalWild have standing. Defs. Reply Supp.
Br. at 3, n. 1 (Dkt. 61) (“Defendants do not contest at this stage that CalWild has pleaded
representational standing with respect to El Centro Project 1 and that RGISC has pleaded
standing with respect to Laredo Project 7”). At oral argument, Defendants also appeared to
concede that Plaintiffs Joseph Hein and Elsa Hull—landowners whose property will be adversely
impacted by construction of Laredo Project 7—also have standing.

                                                  4
         Case 1:19-cv-00720-TNM Document 69 Filed 01/17/20 Page 9 of 26



would seldom have standing to sue since the litigant’s interest normally will not fall within the

zone of interests of the very statutory or constitutional provision that he claims does not

authorize action concerning that interest.” Haitian Refugee Ctr., 809 F.2d at 811-12 n.14 (also

noting that plaintiffs in Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579 (1952) would not

be required to satisfy the zone of interests test were that case to arise today); see also Sierra Club

v. Trump, 929 F.3d 670, 701 (9th Cir. 2019) (“In other words, where the very claim is that no

statutory or constitutional provision authorized a particular governmental action, it makes little

sense to ask whether any statutory or constitutional provision was written for the benefit of any

particular plaintiffs.”) (emphasis in original).

        Defendants ignore the D.C. Circuit’s clear reasoning in Haitian Refugee Center and

essentially argue that Plaintiffs must show that they fall within the zone of interests of whatever

statutes Defendants cite in defense of their actions. See Defs. Suppl. Mem. 7-13 (Dkt. 67).

Plaintiffs are unaware of any case that has applied the zone of interests test in such a manner, and

Defendants cite none. To the contrary, in Dames & Moore v. Regan, 453 U.S. 654, 667

(1981)—more than a decade after the Supreme Court first applied the test—the Court reviewed

plaintiff’s claims that the President and Secretary of Treasury’s actions “were beyond their

statutory and constitutional powers” without applying the zone of interests test. While “the

President purported to act under authority of both the [International Emergency Economic

Powers Act] and 22 U.S.C. § 1732, the so-called Hostage Act,” the Court did not require the

plaintiff to show that he had a cause of action under either of those statutes. Id. at 675 (internal

quotations omitted). Likewise, Plaintiffs here are not required to show that their ultra vires

claims fall with the zone of interests of whatever statutes Defendants purport to act under.




                                                   5
        Case 1:19-cv-00720-TNM Document 69 Filed 01/17/20 Page 10 of 26



        Defendants also argue that this Court should apply a zone of interests test to Plaintiffs’

ultra vires claims because: 1) the Judiciary Act of 1789 conferred on the federal courts

jurisdiction over “all suits in equity,” and thus, the theory goes, traditional equitable causes of

action are, in fact, statutory causes of action, see Defs. Suppl. Mem. 5 (Dkt. 67) (citing Grupo

Mexicano de Desarrollo S.A. v. Alliance Bond Fund, Inc., 527 U.S. 308, 318 (1999)); and 2)

separation of powers principles are implicated because Congress, in enacting the APA, intended

to limit the class of plaintiffs that may sue an agency. Id. at 5-6. Neither argument has merit.

        With regard to the first point, Grupo Mexicano simply states that the Judiciary Act of

1789 conferred on the federal courts “authority to administer in equity suits the principles of the

system of judicial remedies which had been devised and was being administered by the English

Court of Chancery at the time of the separation of the two countries.” 527 U.S. at 318 (citations

omitted). Addressing Defendants’ novel interpretation of the Judiciary Act as having converting

all claims in equity into statutory claims, the Ninth Circuit found that “[a]lthough Defendants are

correct that Congress granted federal courts equity jurisdiction by statute, we think it a stretch to

conclude that the traditional equitable cause of action to enjoin a constitutional violation was

therefore created by statute.” Sierra Club, 929 F.3d at 702 n.25 (citations omitted, emphasis in

original). “Indeed, the lower federal courts are created entirely by statute, but this does not mean

that all constitutional claims filed in a federal district court are really statutory claims.” Id.

(citations omitted). See also Armstrong, 575 U.S. at 327 (“The ability to sue to enjoin

unconstitutional actions by state and federal officers is the creation of courts of equity, and

reflects a long history of judicial review of illegal executive action, tracing back to England. It is

a judge-made remedy.) (citations omitted).




                                                   6
        Case 1:19-cv-00720-TNM Document 69 Filed 01/17/20 Page 11 of 26



       As to the second point, allowing a potentially larger class of plaintiffs to sue an agency

under an ultra vires cause of action than might be able to sue under the APA does not raise

separation of powers concerns because Congress did not intend for the enactment of the APA to

repeal judicial review of ultra vires government actions. 5 U.S.C. § 559 (judicial review chapter

of the APA “do[es] not limit or repeal additional requirements imposed by statute or otherwise

recognized by law”); see also Dart v. United States, 848 F.2d 217, 224 (D.C. Cir. 1988) (“the

APA states that judicial review is not available ‘to the extent that statutes preclude [it].’ But, this

serves only to take away what the APA has otherwise given—namely, the APA’s own guarantee

of judicial review. It does not repeal the review of ultra vires actions that was recognized long

before”); Pls. Op. to Defs.’ Mot. to Dismiss 58-60 (Dkt. 39). Nor does the availability of ultra

vires review render the limitation on the class of people who can sue under the APA

meaningless. Not all APA claims can be framed as ultra vires claims. Moreover, the purpose of

ultra vires causes of action are to reign in executive officials when they act beyond the law.

Dart, 848 F.2d at 224. (“When an executive acts ultra vires, courts are normally available to

reestablish the limits on his authority.”) To apply a zone of interest test to suits seeking to reign

in executive action that is untethered to the law would have the perverse effect of restricting

review when the violation is most egregious. See Haitian Refugee Ctr., 809 F.2d at 811-12 n.14

“a meritorious litigant, injured by ultra vires action, would seldom have standing to sue since the

litigant’s interest normally will not fall within the zone of interests of the very statutory or

constitutional provision that he claims does not authorize action concerning that interest.”)

When a plaintiff has standing to challenge such an action, as Plaintiffs do here, the courts are

acting in accordance with their constitutional authority and separation of powers is not

implicated.



                                                   7
        Case 1:19-cv-00720-TNM Document 69 Filed 01/17/20 Page 12 of 26



        The Ninth Circuit, the Northern District of California, and the Western District of Texas 4

have all addressed the same zone of interests arguments that Defendants raise here, and, citing

the Supreme Court’s decision in Lexmark and the D.C. Circuit’s decision in Haitian Refugee

Center, each court concluded that the zone of interests test does not apply to ultra vires claims. 5

This Court should find likewise for the same reasons.

II.     THE ZONE OF INTERESTS TEST DOES NOT APPLY TO CONSTITUTIONAL
        CLAIMS, BUT, REGARDLESS, PLAINTIFFS WOULD MEET THE TEST.

        In Lexmark, the Supreme Court clarified application of the zone of interests test, focusing

the inquiry on the question of legislative intent, a plainly statutory exercise: “Whether a plaintiff

comes within the ‘zone of interests’ is an issue that requires us to determine, using traditional

tools of statutory interpretation, whether a legislatively conferred cause of action encompasses a

particular plaintiff’s claim.” Id. at 127 (citations omitted) (emphasis added). The test turns on

“whether [the plaintiff] has a cause of action under the statute.” 572 U.S. at 128. Because “the

requirement at issue is in reality tied to a particular statute,” the question “is whether the statute

grants the plaintiff the cause of action that he asserts.” Bank of Am. Corp. v. City of Miami, 137


4
  In El Paso County, the Defendants abandoned their zone of interests argument at summary
judgment. Nevertheless, the Court stated that even if the Defendants had continued to pursue it,
“the Court agrees with the U.S. District Court for the Northern District of California, which
reasoned that when a plaintiff seeks equitable relief against a defendant for exceeding its
statutory authority, the zone-of-interests test is inapposite.” El Paso Cty., 408 F. Supp. 3d at 856
n.1 (citing Sierra Club, 379 F. Supp. 3d at 910). See also Sierra Club, 929 F.3d at 701-02
(discussing Haitian Refugee Center and concluding “[f]or all of these reasons, we doubt that any
zone of interests test applies to Plaintiffs’ equitable cause of action”).
5
   In Sierra Club, the government filed a stay application with the Supreme Court challenging the
Ninth Circuit’s refusal to overturn the district court’s preliminary injunction. The Supreme Court
granted the stay on the basis that “the Government has made a sufficient showing at this stage
that the plaintiffs have no cause of action to obtain review of the Acting Secretary’s compliance
with Section 8005.” Trump v. Sierra Club, 140 S.Ct. 1 (2019). The Supreme Court’s statement
on this preliminary ruling, based on a likelihood rather than the merits, did not reference the zone
of interests test at all.


                                                   8
        Case 1:19-cv-00720-TNM Document 69 Filed 01/17/20 Page 13 of 26



S. Ct. 1296, 1302 (2017). To answer that question, courts “apply traditional principles of

statutory interpretation” to “determine the meaning of the congressionally enacted provision

creating a cause of action.” Lexmark, 572 U.S. at 128.

       The Ninth Circuit, addressing Defendants’ nearly identical zone of interests arguments in

Sierra Club, noted that “[e]ven if a zone of interests test may have been applied to some cases

considering constitutional claims like Plaintiffs’ prior to Lexmark, we think that Lexmark has

called into question its continuing applicability to constitutional claims.” Sierra Club, 929 F.3d

at 701–02; see also id. at 702 (“Because the Constitution was not created by any act of Congress,

it is hard to see how the zone of interests test would even apply.”). Indeed, Defendants cite to no

post-Lexmark case where a court has applied the zone of interests test to an ultra vires or

constitutional claim. See Defs. Suppl. Mem. 3-7 (Dkt. 67); compare Tenn. Wine & Spirits

Retailers Ass’n v. Thomas, 139 S. Ct. 2449 (2019) (finding violation of dormant Commerce

Clause without applying zone of interests test to plaintiffs) with Boston Stock Exch. v. State Tax

Comm’n, 429 U.S. 318, 320-21 n.3 (1977) (pre-Lexmark case applying zone of interests test to

plaintiffs seeking to enforce the dormant Commerce Clause). Moreover, even prior to Lexmark,

courts often reviewed ultra vires challenges without applying a zone of interests test. See, e.g.,

Dames & Moore, 453 U.S. at 667 (1981) (reviewing whether President and Secretary of

Treasury’s actions “were beyond their statutory and constitutional powers”); Chamber of

Commerce v. Reich, 74 F.3d 1322, 1327-28 (D.C. Cir. 1996) (reviewing Executive Order

through challenge brought against Secretary of Labor).

       Even if the Court finds that a zone of interests test applies to Plaintiffs’ constitutional

claims, Plaintiffs clearly fall within the zone of interests of the Appropriations Clause and the

Separation of Powers doctrine. When, pre-Lexmark, the Supreme Court has applied the zone of



                                                  9
        Case 1:19-cv-00720-TNM Document 69 Filed 01/17/20 Page 14 of 26



interests test to constitutional claims, particularly those concerning structural provisions of the

Constitution, “it has applied a very lenient version of that test.” Sierra Club, 929 F.3d at 703.

In Boston Stock Exch., at 318, 320 n.3, a pre-Lexmark case, the Supreme Court applied the zone

of interests test to the plaintiffs’ dormant Commerce Clause claim. The implied dormant

Commerce Clause “functions as a limit on a state’s power relative to that of Congress to regulate

interstate commerce.” Sierra Club, 929 F.3d at 701 (citing Boston Stock Exch., 429 U.S. at 320

n.3). The Supreme Court held that stock exchanges that were “asserting their right under the

Commerce Clause to engage in interstate commerce free of discriminatory taxes on their

business” and alleging that a certain transfer tax “indirectly infringes on that right,” are

“arguably within the zone of interests to be protected…by the…constitutional guarantee in

question.” Boston Stock Exch., 429 U.S. at 320 n.3 (citing Ass’n of Data Processing Serv. Orgs.,

397 U.S. at 153).

       Plaintiffs’ interests are, at the very least, arguably related to constitutional provisions that

serve to protect not only the co-equal branches of government from one another, but also to

protect individuals who are harmed by one branch’s unconstitutional enlargement of its power.

See Bond v. United States, 564 U.S. 211, 223 (2011) (“individuals, too, are protected by the

operations of separation of powers and checks and balances; and they are not disabled from

relying on those principles in otherwise justiciable cases and controversies.”); see also INS v.

Chadha, 462 U.S. 919 (1983) (individual facing deportation allowed to challenge “legislative

veto” under the Constitution’s Presentment Clauses and bicameralism requirement). The D.C.

Circuit too has recognized that “[t]he Constitution’s separation of powers features…do not

simply protect one branch from another. These structural provisions serve to protect

the people, for it is ultimately the people’s rights that suffer when one branch encroaches on



                                                  10
        Case 1:19-cv-00720-TNM Document 69 Filed 01/17/20 Page 15 of 26



another.” Noel Canning v. NLRB, 705 F.3d 490, 510 (D.C. Cir. 2013), aff’d 573 U.S. 513 (2014)

(internal citation omitted, emphasis in original).

        The Appropriations Clause is an integral element of the structural protections built into

the Constitution. It is:

        a bulwark of the Constitution’s separation of powers among the three branches of
        the National Government. It is particularly important as a restraint on Executive
        Branch officers: If not for the Appropriations Clause, the executive would possess
        an unbounded power over the public purse of the nation; and might apply all its
        monied resources at his pleasure.

U.S. Dep’t of Navy v. Fed. Labor Relations Auth., 665 F.3d 1339, 1347 (D.C. Cir. 2012)

(Kavanaugh, J.) (internal quotation omitted). The Ninth Circuit has held that “[t]he

Appropriations Clause [] operates as a structural protection built into our constitutional system,”

similar to the structural protections provided by the Presentment Clause as addressed by the

Supreme Court in Clinton v. City of New York, 524 U.S. 417 (1998). Sierra Club, 929 F.3d at

701. “The Appropriations Clause is a vital instrument of separation of powers, which has as its

aim the protection of individual rights and liberties—not merely separation for separation’s

sake.” Id. at 704.

        The Appropriations Clause guarantees that Congress—the peoples’ representatives, and

not the Executive, will decide how much and under what conditions money will be spent.

Cincinnati Soap Co. v. United States, 301 U.S. 308, 321 (1937) (the Appropriations Clause “was

intended as a restriction upon the disbursing authority of the Executive department,” and “means

simply that no money can be paid out of the Treasury unless it has been appropriated by an act of

Congress.”). The Executive’s use of funds in excess of what Congress appropriated for border

wall construction directly harms the Plaintiffs’ homes, lands and livelihoods and trammels on

their cultural, spiritual, environmental, recreational, and aesthetic interests. In line with the



                                                  11
        Case 1:19-cv-00720-TNM Document 69 Filed 01/17/20 Page 16 of 26



Supreme Court’s reasoning in Boston Stock Exchange, “Plaintiffs’ claim that their rights or

liberties were infringed by a violation of the Appropriations Clause therefore falls within any

zone of interests required to enforce that clause’s provisions.” Sierra Club, 929 F.3d at 704.

III.   PLAINTIFFS FALL WITHIN THE ZONE OF INTERESTS OF THE 2019 CAA.

       Plaintiffs’ property, business, cultural, and recreational interests align with the 2019

CAA; as such, Plaintiffs easily meet the lenient zone of interests standard for their alternative

claims under the APA, which arise out of the CAA. See Cook v. Billington, 737 F.3d 767, 771

(D.C. Cir. 2013) (Kavanaugh, J.) (“A plaintiff with Article III standing satisfies the requirement

unless his interests are so marginally related to or inconsistent with the purposes implicit in the

statute that it cannot reasonably be assumed that Congress intended to permit the suit.”

(quotation omitted)). In the APA context, the zone of interests test is not “especially

demanding” and “the benefit of any doubt goes to the plaintiff.” Lexmark, 572 U.S. at 130

(quoting Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians , 567 U.S. at 225).

       As this Court has noted, “the zone of interest test does not require any ‘indication of

congressional purpose to benefit the would-be plaintiff.’” Physicians for Soc. Responsibility v.

Wheeler, 359 F. Supp. 3d 27, 38 (D.D.C. 2019) (McFadden, J.) (quoting Clarke v. Sec. Indus.

Ass’n, 479 U.S. 388, 399-400 (1987). Rather, the zone of interests test is “concerned with

‘whether, in view of Congress’ evident intent to make agency action presumptively reviewable, a

particular plaintiff should be heard to complain of a particular agency action.’” Id. (quoting

Clarke, 479 U.S. at 399); see also White Stallion Energy Ctr., LLC v. EPA, 748 F.3d 1222, 1269

(D.C. Cir. 2014) (Kavanaugh, J., concurring in part and dissenting in part) (“Clarke confirmed

the capacious view of the zone of interests requirement. . . . It reaffirmed the presumption in

favor of allowing suit and made clear that the suit should be allowed unless the statute evinces

discernible congressional intent to preclude review.”), rev’d sub nom. Michigan v. EPA, 135 S.
                                                 12
        Case 1:19-cv-00720-TNM Document 69 Filed 01/17/20 Page 17 of 26



Ct. 2699 (2015). “In other words, the test is mainly concerned with which private party may sue

to challenge an agency action, not whether any party may sue at all.” Id. (emphasis in original).

       Plaintiffs are proper parties to challenge the Defendants’ violation of the 2019 CAA. See

First Nat. Bank & Tr. Co. v. Nat’l Credit Union Admin., 988 F.2d 1272, 1275 (D.C. Cir. 1993)

(parties who are “suitable challengers to [a] statute because their interests coincide with the

interests which Congress did intend to protect” satisfy zone of interests test) (internal quotation

omitted).

        Defendants’ arguments to the contrary ignore the context in which the 2019 CAA was

passed, and fail to address the specific harms to Plaintiffs’ property, business, cultural, and

recreational interests caused by the Defendants’ flouting of the Act. See Clarke v. Sec. Indus.

Ass’n, 479 U.S. 388, 401 (1987) (zone of interests analysis must consider “overall context” and

“overall purposes” of congressional action); see also Indian River Cty., Fla. v. U.S. Dep’t of

Transp., 2019 WL 6972874, at *9 (D.C. Cir. Dec. 20, 2019) (holding that because county’s

“environmental and safety concerns are matters of the sort that DOT surely will have ‘in mind’

when exercising its authority” to allocate tax-exempt bonds pursuant to a statute in the Internal

Revenue Code, county’s “asserted interests at least arguably fall within the zone-of-interests

protected by [the statute]”).

       Following the longest government shutdown in U.S. history, Congress passed and the

President signed the 2019 CAA, which provided $1.375 billion—a fraction of the $5.7 billion

requested by the President—for border barrier construction limited to the Rio Grande Valley and

subject to other restrictions. Pub. L. No. 116-6, §§ 230-32, 113 Stat. 197 (2019). In addition to

the location and design limitations set out in Sections 230-232, Section 739 of the 2019 CAA

provided that



                                                 13
        Case 1:19-cv-00720-TNM Document 69 Filed 01/17/20 Page 18 of 26



       [n]one of the funds made available in this or any other appropriations Act may be
       used to increase, eliminate, or reduce funding for a program, project, or activity as
       proposed in the President’s budget request for a fiscal year until such proposed
       change is subsequently enacted in an appropriation Act, or unless such change is
       made pursuant to the reprogramming or transfer provisions of this or any other
       appropriations Act.

Pub. L. No. 116-6, § 739, 113 Stat. 13 (2019). Through the actions challenged here, Defendants

have increased funding for border wall construction by billions of dollars using money that

Congress appropriated for other purposes, and will use those funds to construct border wall

outside of the Rio Grande Valley. The overall context and purpose of the 2019 CAA clearly

show that Congress considered the impacts of building additional barriers along the southern

border—including in areas where Plaintiffs reside, work, worship, and recreate—and prohibited

the very actions that Defendants now take. Plaintiffs’ interests coincide with the interests that

Congress intended to protect in the 2019 CAA and are thus “suitable challengers” to Defendants’

coordinated funding plan that increases border wall spending beyond amounts appropriated for

that purpose. See First Nat. Bank., 988 F.2d at 1275.

       The D.C. Circuit’s decision in Scheduled Airlines Traffic Offices, Inc. v. Dep’t of Def., 87

F.3d 1356, 1360 (D.C. Cir. 1996), is instructive here. In Scheduled Airlines, the Court found that

an individual plaintiff “arguing that its competitors are benefitting from an agency's scheme to

raise money at Treasury’s expense” was within the zone-of-interests of the Miscellaneous

Receipts Act, a statute intended to benefit the “public fisc and Congress’s appropriation power.”

87 F.3d at 1360. The Court determined that Congress’ objective in enacting that statute “was

primarily to ensure that [certain] expenses resulted from proper appropriations, rather than

depending on the whims of executive branch officials.” Id. at 1359-60. Nonetheless, the Court

found that the plaintiff was a “suitable challenger[ ] to enforce the statute” because its interests

were “sufficiently congruent with those of the [Treasury’s]” and that the plaintiff was not more

                                                  14
        Case 1:19-cv-00720-TNM Document 69 Filed 01/17/20 Page 19 of 26



likely to frustrate than to further . . . statutory objectives.” Id. at 1360 (alteration in original,

internal quotations omitted).

        The Scheduled Airlines court noted that the funds at issue there were either “covered by

the statute or they are not”; thus, there was a “statutory demarcation” that made it impossible for

the plaintiff’s interests to diverge from the statute’s, and the court ran “[no] risk that the outcome

could . . . in fact thwart the congressional goal.” Id. 1360-61 (alteration in the original, internal

quotations omitted). The same is true here. It is not possible for Plaintiffs’ interests to diverge

from those of the 2019 CAA, even if, as Defendants contend, the 2019 CAA is nothing more

than “a directive from Congress to Executive agencies setting forth the specific amounts and

purposes for which appropriations may be spent.” 6 See Defs’. Suppl. Mem. 13 (Dkt. 67). Either

Congress placed a limit on funds that can be used for border wall construction or it did not.

There is no risk that the outcome of this case could thwart Congress’s goal in “setting forth

specific amounts and purposes for which appropriations may be spent.” See id.

        The 2019 CAA expresses Congress’s deliberate appropriations decision. Congress has an

interest in ensuring that its appropriations decisions are duly executed. Because Plaintiffs’

interests align with Congress’s interest, Plaintiffs are within the zone of interests of the CAA.

Although Congress’s attempts to assert its appropriation authority have been unsuccessful, 7


6
 For this same reason, Plaintiffs’ interests “coincide systematically” with the 2019 CAA. See
Twin Rivers Paper Co. LLC v. Sec. & Exch. Comm’n, 934 F.3d 607, 616 (D.C. Cir. 2019); see
also First Nat. Bank & Tr. Co., 988 F.2d at 1278.
7
  On February 26, 2019, the House of Representatives passed a resolution pursuant to the National
Emergencies Act to terminate the President’s declaration of emergency. H.J. Res. 46, 116th Cong.
(2019). In the Senate, a bipartisan majority likewise voted 59-41 to terminate the President’s
declaration of emergency. On March 15, 2019, President Trump vetoed the disapproval resolution.
Six months later, on September 25, 2019, the Senate again approved a bipartisan resolution to
disapprove the emergency. S.J. Res. 54, 116th Cong. (2019). On September 27, the House passed
this resolution as well. See also House of Representatives v. Mnuchin, 379 F. Supp. 3d 8 (D.D.C.
2019).

                                                    15
        Case 1:19-cv-00720-TNM Document 69 Filed 01/17/20 Page 20 of 26



Plaintiffs are suitable challengers to Defendants’ violations of the 2019 CAA. See House of

Representatives v. Mnuchin, 379 F. Supp. 3d 8, 22 (D.D.C. 2019) (noting the availability of

actions by private litigants, including Plaintiffs in this case, asserting that the President’s

declaration of national emergency and use of § 284 and § 2808 to build the wall violate the

Appropriations Clause and the 2019 CAA).

IV.     PLAINTIFFS’ INTERESTS WOULD FALL WITHIN THE ZONE OF
        INTERESTS OF 10 U.S.C. § 2808, 10 U.S.C. § 284, AND 31 U.S.C. § 9705.

        As argued above, Plaintiffs are not required to show that they fall within the zone of

interests of the statutes Defendants that cite in defense of their actions. Supra, 5. Even if there

were such a requirement, the Supreme Court has emphasized that the zone of interests test

“forecloses suit only when a plaintiff’s interests are so marginally related to or inconsistent with

the purposes implicit in the statute that it cannot reasonably be assumed that Congress intended

to permit the suit.” Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians, 567 U.S. at

225 (internal quotations and citation omitted). Moreover, the zone of interests test is not

“especially demanding” with respect to matters arising under the APA, and “the benefit of any

doubt goes to the plaintiff.” Id. (citation omitted). Finally, the Supreme Court has “consistently

held that for a plaintiff’s interests to be arguably within the ‘zone of interests’ to be protected by

a statute, there does not have to be an ‘indication of congressional purpose to benefit the would-

be plaintiff.’” Nat’l Credit Union Admin. v. First Nat. Bank & Tr. Co., 522 U.S. 479, 492

(1998) (citation omitted). Under this “low bar,” Plaintiffs easily fall within the zone of interests

of 10 U.S.C. § 2808, 10 U.S.C. § 284, and 31 U.S.C. § 9705. See Cook, 737 F.3d at 771

(Kavanaugh, J.).




                                                  16
        Case 1:19-cv-00720-TNM Document 69 Filed 01/17/20 Page 21 of 26



       A.      Plaintiffs fall within the zone of interests of § 2808.

       The President has invoked 10 U.S.C. § 2808 as the source of his authority to spend $3.6

billion on wall construction, Am. Compl. ¶ 69, but Congress expressly limited that statute to

undertakings that 1) respond to a national emergency “that requires use of the armed forces,” and

2) are “military construction projects” that “are necessary to support such use of the armed

forces.” 10 U.S.C. § 2808. “[P]residents have only invoked Section 2808 twice since it was

enacted in 1982,” and “a president has never before invoked Section 2808 to secure funding for

projects that Congress specifically declined to fund in its appropriations judgment.” California v.

Trump, 407 F. Supp. 3d 869, 878 (N.D. Cal. 2019) (citations omitted). Plaintiffs need not point

to any “indication of congressional purpose to benefit” them to fall within the statute’s zone of

interests, Nat’l Credit Union Admin., 522 U.S. at 492, and no court has held that a plaintiff’s

property, business, cultural, and recreational interests necessarily fall outside of Section 2808’s

zone of interests.

       The D.C. Circuit’s decision in Patchak v. Salazar, 632 F.3d 702 (D.C. Cir. 2011), aff’d

and remanded sub nom. Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians v. Patchak,

567 U.S. 209 (2012), is helpful in discussing why Plaintiffs would fall within Section 2808’s

zone of interests. Patchak concerned a challenge to the Secretary of Interior taking land into

trust under the Indian Reorganization Act, which allows for the acquisition of property “for the

purpose of providing land for Indians,” so the Match-E-Be-Nash-She-Wish Band of Pottawatomi

Indians could develop the property for gaming. Id. at 706 (citation omitted). Significantly, the

plaintiff in Patchak was not a member of an Indian tribe, nor did he have any property interest in

the land at issue. Id. at 705. Rather, the plaintiff was a nearby landowner who “alleged that the

rural character of the area would be destroyed, that the value of his property would be

diminished and that he would lose the enjoyment of the agricultural land surrounding the casino
                                                 17
        Case 1:19-cv-00720-TNM Document 69 Filed 01/17/20 Page 22 of 26



site.” Id. at 707. The Department of Interior argued that because the Indian Reorganization Act

is “not concerned with the interests that Patchak asserts” but is instead designed to “give the

Indians the control of their own affairs and of their own property,” that Patchak falls outside of

the zone of interests of the Act. Id. at 705. The D.C. Circuit disagreed, holding that “Patchak

did not have to show that the Indian Reorganization Act was meant to benefit those in his

situation. . . . the analysis focuses, not on those who Congress intended to benefit, but on those

who in practice can be expected to police the interests that the statute protects.” Id. The D.C.

Circuit found that the plaintiff’s “stake in opposing the Band’s casino is intense and obvious,”

bringing him within the zone of interests of the Indian Reorganization Act. Id. at 707 (“The

zone-of-interests test weeds out litigants who lack a sufficient interest in the controversy,

litigants whose ‘interests are so marginally related to or inconsistent with the purposes implicit in

the statute that it cannot reasonably be assumed that Congress intended to permit the suit.’

Patchak is surely not in that category.”) (internal citation omitted). The Supreme Court agreed.

Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians, 567 U.S. at 227 (considering impacts

of implementing the statute in zone of interests test).

       Plaintiffs here allege no emergency exists at the southern border that requires use of the

armed forces, and that any building of border barriers is, therefore, unnecessary and

unauthorized. See Pls. Opp. to Mot. to Dismiss 71-74 (Dkt. 39). Moreover, Plaintiffs allege that

the impact of Defendants’ use of funds under Section 2808 to construct a border wall would,

among other things, destroy ecosystems along the border, Am. Compl. ¶¶ 98-104, 122-124;

damage and diminish the value of their property, id. ¶¶ 111-113; impede their scientific and

community-based activities and frustrate their organizational missions; id. ¶¶ 107-109; 125-31;

and impair their use and enjoyment of their own properties; id. ¶¶111-113, 122-124. Under



                                                 18
        Case 1:19-cv-00720-TNM Document 69 Filed 01/17/20 Page 23 of 26



Patchak and Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians, Plaintiffs easily fall

within the zone of interests of Section 2808. 8 Defendants’ attempts to distinguish Match-E-Be-

Nash-She-Wish Band of Pottawatomi Indians on the grounds that Section 2808 “make[s] no

mention of any issues at all related to environmental or recreational concerns,” Defs.’ Suppl.

Mem. 9 (Dkt. 67), ignores the reasoning on which the Supreme Court affirmed the D.C. Circuit’s

decision: the statute does not have to contemplate the specific impacts that may directly result

from application of the statute in order for a plaintiff experiencing those impacts to fall within

the zone of interests of the statute. As the Supreme Court explained, “the Secretary will typically

acquire land with its eventual use in mind, after assessing potential conflicts that use might

create. . . . And so neighbors to the use (like Patchak) are reasonable—indeed, predictable—

challengers of the Secretary’s decisions: Their interests, whether economic, environmental, or

aesthetic, come within [the statute’s] regulatory ambit.” Likewise, § 2808 allows the Secretary

of Defense to reprogram funds for the construction of military installations. Neighbors to these

military installations—indeed landowners whose property the Department of Defense seizes for

such construction—are reasonable and predictable challengers to the Secretary of Defense’s

decisions. Regardless of whether Section 2808 mentions environmental or recreational concerns,

the severe and direct impact of Defendants’ use of Section 2808 funds to build border wall on

and near Plaintiffs’ properties satisfies the zone of interests inquiry.


8
  The Court should not accept Defendants’ invitation to read Section 2808’s “notwithstanding”
clause as an implicit limitation on the availability of judicial review. Defs. Suppl. Br. 9-10 (Dkt.
67). Defendants’ position is essentially that no one is within the zone of interests of Section
2808, but “the agency bears a heavy burden in attempting to show that Congress prohibited all
judicial review of the agency’s compliance with a legislative mandate.” Mach Mining, LLC v.
EEOC, 575 U.S. 480, 486 (2015) (quotation and alteration marks omitted). Defendants have not
met that burden here.



                                                  19
        Case 1:19-cv-00720-TNM Document 69 Filed 01/17/20 Page 24 of 26



       B.      Plaintiffs fall within the zone of interests of § 284.

       For reasons similar to those stated for Section 2808, Plaintiffs fall within the zone of

interests of 10 U.S.C. § 284; tellingly, Defendants spend only a short paragraph arguing

otherwise. Defs. Suppl. Br. 10-11 (Dkt. 67). In enacting 10 U.S.C. § 284, Congress authorized

the Secretary of Defense to provide various forms of small-scale support to law enforcement

agencies, such as the “construction of roads and fences and installation of lighting to block drug

smuggling corridors across international boundaries of the United States.” Id. § 284(b)(7).

Citing Section 284, Defendants plan to spend $2.5 billion on border barriers in excess of what

Congress appropriated for that purpose. Am. Compl. ¶ 89. Because of the negative impacts of

that unauthorized border wall construction to Plaintiffs’ interests, Plaintiffs fall within the zone

of interests of Section 284. See supra, IV, A.

       C.      Plaintiffs fall within the zone of interests of § 9705.

       Congress established the Treasury Forfeiture Fund to permit the use of forfeited funds for

specifically delineated law enforcement purposes relating to the seizure and forfeiture program.

See 31 U.S.C. § 9705(a). Section 9705(g)(4)(B) provides that after required reserves and

required transfers, “any unobligated balances remaining in the Fund . . . shall be available to the

Secretary . . . for obligation or expenditure in connection with the law enforcement activities of

any Federal agency. . . .” 31 U.S.C. § 9705(g)(4)(B). Any expenditure “in excess of $500,000

with respect to an unobligated balance described in subparagraph (B) may not be made by the

Secretary unless the Appropriations Committees of both Houses of Congress are notified at least

15 days in advance of such obligation or expenditure.” Id. § 9705(g)(4)(C).

       On January 8, 2020, Defendants filed a notice confirming their use of Treasury Forfeiture

Funds to fund border wall construction and provide additional detail regarding whether and how

those funds would be spent. Notice Regarding Use of the Treasury Forfeiture Fund (Dkt. 68).

                                                 20
        Case 1:19-cv-00720-TNM Document 69 Filed 01/17/20 Page 25 of 26



Specifically, $11 million will be used to fund a contract option that will increase the height of a

planned segment of barrier in Starr County (RGV 09) from 18 to 30 feet, see Decl. of Loren

Flossman 3-4 (Dkt. 68-1); $113 million will be used to fund an additional 10 miles of barrier in

Hidalgo and Cameron Counties, a portion of which will be located within half a mile of the Eli

Jackson Cemetery, see id. at 4, 10; and $216 million will be used in the RGV sector to fund cost

overruns on projects funded with the 2019 appropriation, id. at 4. Because of the negative

impacts of the unauthorized use of these funds for border wall construction on or adjacent to the

Jackson Ranch Church and Cemetery and the Eli Jackson Cemetery, Plaintiffs fall within the

zone of interests of Section 9705.

                                         CONCLUSION

       For the above reasons, as well as those set forth in Plaintiffs’ prior briefing and at oral

argument, Defendants’ motion to dismiss should be denied.

       Respectfully submitted this 17th day of January, 2020.

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                                                 21
Case 1:19-cv-00720-TNM Document 69 Filed 01/17/20 Page 26 of 26



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                               22
